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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

TONY DEWITT,                           )
                                       )
                         Plaintiff,    )
                                       )
             v.                        )   1:18-cv-03202-DKC
                                       )
WILLIAM RITZ, et. al.,                 )
                                       )   Hon. Deborah K. Chasanow
                         Defendants.   )

MOTION TO DISMISS PLAINTIFF’S COMPLAINT AS A LITIGATION SANCTION
BASED UPON WITNESS TAMPERING AND THE FABRICATION OF EVIDENCE




                                           Respectfully submitted,



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       Defendants, William Ritz, Gregory MacGillivary, and Kevin Turner (“Defendants”),

through their undersigned attorneys, and pursuant to Fed. R. Civ. P. 41 and this Court’s inherent

authority, for their motion to dismiss Plaintiff’s complaint as a litigation sanction based upon

witness tampering and the fabrication of evidence, hereby state as follows:

                                           INTRODUCTION

       Plaintiff engaged in blatant and shocking witness tampering and outright fabrication of

critical evidence from the inception of his post-conviction proceedings which continue to infect

this litigation. After conning the criminal justice system with this fraudulent evidence to procure

the dismissal of his murder charge, Plaintiff continues to rely upon this same evidence in this

case. In light of this extreme litigation misconduct, the Court should issue the harshest sanctions

at its disposal to protect the integrity of the civil and criminal justice system. At minimum,

dismissal of Plaintiff’s claims with prejudice is warranted to prevent him from profiting from his

corrupt and criminal behavior.

       As set forth in detail below, Plaintiff offered to pay key witnesses from his criminal

trial—Maurice and Cornell Booker—“ten stacks a piece” in exchange for helpful testimony in

his post-conviction proceedings and the instant civil case.1 This evidence recently came to light

when Defendants in this civil case obtained Plaintiff’s recorded phone calls pursuant to a

subpoena to the Department of Public Safety and Correctional Services (“DPSCS”). In a

recorded call between Plaintiff and Maurice Booker, Plaintiff said:

       Me and you and my lawyer, we gonna work something out as far as a
       contract where as though I give you and your brother ten stacks a piece
       because that’s when I can sue their ass for a lot of their bull-shit they did
       in my trial… I can lace your pocket and your brother pocket for real,
       right, because I’m still, I’m still gonna need you all in my civil suit… I’m
       trying to bust the state for all the money I can get off these motherfuckers.
       You know what I’m saying. And y’all coming down I see if we can work
       1
           A “stack” is slang for $1,000. See http://onlineslangdictionary.com/meaning-definition-of/stack.
                                                     1
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       something out whereas my lawyer can put some type of contract whatever
       together. You know what I’m saying. Whereas though I can, I can tighten
       you all up as well… Yeah, I’m, I’m, that’s why I’m putting you on, that’s
       why I’m putting you on point now and shit so that you’ll know that these,
       you know at my post-conviction I still, I still got that same bitch ass
       prosecutor, yo. That black bald head bitch… the same motherfucker thing
       but by her doing, she doing the same case. So I’m going in front of a
       black, this a black judge, this a new judge that’s down there now. She only
       been a judge down there for like three years… my lawyer, he was talking
       real good, like she real liberal and shit… I been just hoping that everything
       pan out and shit, whereas though uh, though Ty, uh, uh, uh, Tyrell, he’s
       supposed to come too, right.

See CD 1 of Recorded Prison Calls, attached hereto as Ex. 1, at 6/14/2015, 8:22:39 PM, 12:33–

21:06 (emphasis added).2

       The recordings also establish that Plaintiff paid Tyrell Curtis for his helpful post-

conviction testimony and closely coordinated with Curtis regarding the details of that testimony.

In order to lend credibility to this purchased, false testimony from Curtis, Plaintiff obtained a

wholly fabricated police report (the “Tyrell Curtis Report” or “Questioned Document”) which

purports to memorialize a prior statement from Curtis to BPD Officer Mark Veney identifying an

alternative suspect in the crime at issue. Plaintiff then pointed to this fraudulent evidence at his

post-conviction proceedings and argued that it was newly discovered exculpatory Brady material

which required his murder conviction be reversed. To be clear, the Tyrell Curtis Report is

nothing but a forgery. As explained in more detail below, a team of forensic document examiners

analyzed the Tyrell Curtis Report and concluded it was manufactured from other known

documents that Plaintiff obtained from the State’s Attorney’s Office (“SAO”) during discovery

in his criminal case. These scientific findings are independently conclusive, but the conclusion

that the document was fabricated is further corroborated by context, common sense, the face of

the document itself, and all other known evidence. In light of the significance of the fraud


       2
           A complete index of the “Recorded Prison Calls” cited within is attached hereto as Appendix A.
                                                    2
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perpetrated by Plaintiff and the strong public interest in maintaining the integrity of the judicial

system, the only appropriate remedy is dismissal of the complaint, with prejudice.

                                    FACTUAL BACKGROUND

       A.        The Underlying Crime, Conviction, and Unsuccessful Direct Appeal3

       On July 5, 2002, Sherene Moore and Maurice Booker were shot in Baltimore City. See

Court of Special Appeals of Maryland Opinion, at ¶ 3, attached hereto as Ex. 5. Ms. Moore, who

had just celebrated her sixteenth birthday, died from a single gunshot wound to her chest. Id.

Booker, who was eighteen, sustained a gunshot wound to his arm and chest. Id. at ¶¶ 2-3. Booker

was eventually interviewed by members of the Baltimore Police Department (“BPD”) and

identified the Plaintiff, Tony Dewitt, as the shooter. See id. at ¶ 14. At trial however, Booker was

one of several witnesses to recant his previous statements, alleging that his identification was the

product of police manipulation. See id. at ¶¶ 12-16. Nonetheless, in November 2003, a jury

sitting in the Circuit Court for Baltimore City convicted Dewitt of first-degree murder relating to

Moore, and attempted first-degree murder of Booker, as well as related crimes. Id. at ¶ 1. Dewitt

was sentenced to life imprisonment plus a consecutive term of twenty years. Id. The Court of

Special Appeals affirmed the conviction on February 22, 2007, Ex. 5, and the Court of Appeals

of Maryland denied a petition for writ of certiorari on June 8, 2007. See Court of Appeals of

Maryland Order, attached hereto as Ex. 6.

       B.        Plaintiff’s Conviction Is Vacated and He Files Suit Based on the Questioned
                 Document
       Having exhausted his opportunities for direct appeal, Dewitt filed a petition for writ of

actual innocence on August 9, 2010, based on what he characterized as “newly discovered

evidence.” See Petition for Writ of Actual Innocence, attached hereto as Ex. 7. His petition was


       3
           A brief “Timeline” providing temporal context is attached hereto as Appendix B.
                                                    3
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denied for failing to state a claim by order of the Baltimore City Circuit Court on August 19,

2010. See Order Denying Petition for Writ of Actual Innocence, attached hereto as Ex. 8.

       In December 2013, Dewitt filed a Petition for Post-Conviction Relief. See Petition for

Post-Conviction Relief (“PC Petition”), attached hereto as Ex. 9.4     5
                                                                           In his PC Petition, Plaintiff

alleged “there was another eyewitness to the crime by the name of Tyrell Curtis, who gave a

statement that he witnessed George Gaines, committ [sic] the crime.” Id. at ¶ 38. Plaintiff

attached the Tyrell Curtis Report (a.k.a. Questioned Document) as Exhibit 4 to his PC Petition

and characterized it as newly obtained exculpatory evidence. Questioned Document, attached

hereto as Ex. 12. Plaintiff alleged that he first learned of this document after his conviction when

he received it from the SAO in response to a Maryland Public Information Act (“MPIA”)

request. See Ex. 9, at ¶ 39. Plaintiff also relied on the Questioned Document to support an

ineffective assistance of counsel allegation that his “attorney failed to investigate the witness and

the detective that took Tyrell Curtis [sic] statement.” Id.

       A hearing was held on the PC Petition in the Baltimore City Circuit Court on July 15,

2014, and continued on August 6, 2014. See 7/15/15 Post-Conviction Hearing Transcript,

attached hereto as Ex. 13; 8/6/15 Post-Conviction Hearing Transcript, attached hereto as Ex. 14.

Maurice Booker and Tyrell Curtis each testified on behalf of Plaintiff at the July 2014 hearing.

Tyrell Curtis testified that he in fact gave the statement attributed to him in the Questioned

Document. See Ex. 13, at ¶¶ 6-40. Maurice Booker testified at the hearing that, contrary to the



       4
           Plaintiff filed an Amended Post-Conviction Petition on June 13, 2014, and filed a Second
Amended Post-Conviction Petition on July 25, 2014. These amended petitions were orally waived at a
hearing on July 15, 2015. See Memorandum Opinion Granting Post-Conviction Relief, attached hereto as
Ex. 10, at ¶ 1, n.1.
        5
           In October 2014, with his Petition still pending before the court, Dewitt filed a Motion to
Correct Illegal Sentence which was denied by the court. See Order Denying Motion to Correct Illegal
Sentence, attached hereto as Ex. 11.
                                                  4
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statement he provided the police which inculpated Plaintiff, he could not actually identify

Dewitt. See id. at ¶¶ 66-72.

       Although the Baltimore City Circuit Court found that the SAO’s open file policy

precluded a finding that Brady was violated and further rejected twenty-three (23) separate

grounds asserted in the PC Petition, it granted the PC Petition as to the allegation of ineffective

assistance of counsel as to Tyrell Curtis. Ex. 10, at ¶¶ 63-71.6 In other words, the court assumed

the Tyrell Curtis Report was authentic and found that Plaintiff’s attorney should have

interviewed Curtis in light of the favorable testimony Curtis presumably would have provided

had he testified consistent with the Questioned Document and his July 2014 testimony.

                     CLEAR EVIDENCE OF WITNESS TAMPERING

       Plaintiff’s recorded prison calls reveal his direct involvement in paying Maurice Booker

and his brother Cornell Booker, as well as Tyrell Curtis, in connection with Plaintiff’s direct and

indirect procurement of their false testimony in support of the PC Petition. Notwithstanding

regular DPSCS announcements at the start of every call that Plaintiff’s calls as an inmate were

being recorded and his typical efforts to conceal his discussions about his witness tampering

through the use of pseudonyms, Plaintiff and his co-conspirators slipped up with sufficient

frequency and clarity that it is beyond question that he offered to pay the Bookers and Tyrell

Curtis in exchange for favorable testimony in support of his PC Petition. As to Maurice Booker,

Plaintiff spoke directly with him, as cited above, and offered to pay him ten-thousand dollars

($10,000). Ex. 1, at 6/14/2015, 8:22:39 PM, 12:33–21:06.

       Regarding Tyrell Curtis, Plaintiff attempted to conceal his identity through the use of a

nom de guerre, such as “Dude” and “Bobbi Brown.” But these conspiratorial efforts are exposed


       6
           Other than the testimony of Curtis, no evidence was presented in connection with the PC
Petition to support the authenticity of the Questioned Document.
                                                5
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herein because Plaintiff and his accomplices would sometimes get sloppy and directly name

“Tyrell” and discuss that they were paying Tyrell Curtis in exchange for his testimony.

       In the end, Plaintiff’s scheme to purchase false testimony from the Booker bothers and

Curtis succeeded in unlocking the prison gates and simultaneously opened the door to this

lawsuit. The recorded prison calls reveal, however, that the testimony of these critical PC

Petition witnesses was purchased by Plaintiff. This scheme was spearheaded by Plaintiff and, at

times, effectuated with the help of Plaintiff’s girlfriend, Yvette Frances Gray (“Yvette”), and his

longtime friend, Antonio McDougald (“Doodles”).7 The blatant witness tampering is set out in

detail below utilizing direct quotes from Plaintiff’s recorded prison calls. Given these clear

admissions and the forensic document evidence establishing that the Questioned Document was

forged, the minimally appropriate sanction is the full dismissal of this civil case.

       A.      Dewitt Promised Maurice and Cornell Booker Ten-Thousand Dollars
               ($10,000) Each for Their Testimony
       On June 14, 2015, Plaintiff called his girlfriend, Yvette, who then patched in Maurice

Booker on a separate line so that Plaintiff could speak directly with Maurice. During this call,

Plaintiff spoke directly with Maurice and offered him and his brother ten-thousand dollars

($10,000) each in exchange for their testimony at his hearing on the PC Petition. Plaintiff’s

words are simply jaw-dropping: “Me and you and my lawyer, we gonna work something out as

far as a contract where as though I give you and your brother ten stacks a piece because that’s

when I can sue their ass for a lot of their bull-shit they did in my trial. And… if everything, if

everything pan out right, I, I, I can definitely I wanna lace, I can lace your pocket and your

brother pocket for real, right, because I’m still, I’m still gonna need you all in my civil suit.”

       7
          It appears that Plaintiff also offered Doodles compensation for his efforts coordinating the
payments and testimony of Maurice and Cornell Booker and Curtis. See CD 4 of Recorded Prison Calls,
attached hereto as Ex. 4, at 3/29/2013, 9:10:12 PM, 1:47–1:52 (“You know everything go good man, you
know I’m gonna break bread yo, you hear.”).
                                                  6
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See Ex. 1, at 6/14/2015, 8:22:39 PM, 12:33–21:06 (emphasis added). In addition to the

unambiguous promise made by Plaintiff to pay Maurice, other recorded calls demonstrate that

Plaintiff also coordinated the substance of Maurice’s testimony. On February, 12, 2015, Plaintiff

told Maurice’s brother, Cornell:

        So basically, what I need you to do is… say that… the state gave you a
        deal and shit, and that’s how you copped out to the time that you got, and
        your… brother, he… said the things that he said because of the simple fact
        that the police promised to do this that. You know what I mean, you know
        the, you know the, you know… that’s basically what I need you to do
        for real, right… So… I definitely, I definitely need your help though
        Dawg. I want to know, you know what I mean,… I definitely need your
        help… I definitely appreciate this shit… I get my lawyer and shit to uh, to
        send you a summons and shit, right… So if you need a ride down that
        motherfucker I can get my wife or... If you want Doodles to come scoop
        you up… if you don’t got no ride to go down to courthouse and shit, she
        would do that… But before you all get down there to do a deposition I
        just wanna chop it up… first with you so you’ll know exactly what to
        say and what, you know what I mean… before I put it in [my lawyer’s]
        hands, I wanted to make sure that y'all were straight with it though… I
        didn’t wanna… press, press the issue without getting, getting the green
        light from you and your brother

CD 2 of Recorded Prison Calls, attached hereto as Ex. 2, at 2/12/2015, 12:32:37 PM, 16:26–

27:57 (emphasis added). Later that same day, in a recorded call between Plaintiff and Maurice,

Plaintiff emphasized to Maurice that he needed to be “convincing” and stick to “the whole

script.” See id. at 2/12/2015, 8:20:42 PM, 10:27–16:12.8




        8
            The selected quotations in context are: “So the main thing is, basically, is you sticking to the
whole, the whole script. You just gotta be convincing. You know what I mean… you just gotta basically
be, you know, you know what was said and everything far as you being there… and you just gotta be…
convincing and shit, right… I’m gonna highlight Roland, that's my lawyer name, Roland, Roland
Brown… So I’m gonna highlight you and shit. And I talk to him probably tomorrow. Once I highlight
him... I'll probably get my wife, probably to text you and let you know what date they set up so you and
your brother can go down that motherfucker, right…’cuz I… wrote uh, I got a letter, half of it, what I got
one written to your brother. I, I was wantin’ to wait to talk to you first before I can… put the joint
together for you… I’m gonna mail that out so you should get it between… Wednesday and Thursday…
so if you need a ride down, I can get my wife and shit, or I get Doodles and shit… I definitely, I definitely
appreciate that dawg. You know what I mean…”. Ex. 2, at 2/12/2015, 8:20:42 PM, 10:27–16:12.
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         On February 14, 2015, Plaintiff stressed to Yvette that it was critical that Maurice receive

Plaintiff’s letter before Yvette took Maurice to meet with Plaintiff’s criminal defense counsel.

Yvette responded:

         Yvette:         Oh, I know. So he’ll know what to say. You right.
         Dewitt:         Oh Lord. Lord, you ain’t have to say all of that.
         Yvette:         I know. Sorry about that. I gotchu. I know.
Id. at 2/14/2015, 7:45:25 PM, 2:32–3:13.
         On February 15, 2015, in a three-way call, Plaintiff, Yvette, and Cornell Booker

discussed when Plaintiff’s letter was scheduled to arrive at Maurice Booker’s place. See id. at

2/15/2015, 12:41:32 PM, 3:12–5:10. On March 2, 2015, Plaintiff reiterated to Yvette that she

should “make sure that they read… that letter and shit that was sent, right. Make sure he, I mean

he basically read that so he’ll know what, what's going on.”9 Id. at 3/2/2015, 6:47:59 PM, 21:31–

22:19.

         B.        Plaintiff Conspired with Larry Mitchell to Fabricate Testimony
         Larry Mitchell (a.k.a. “Brother”) is a witness Plaintiff relies upon in his complaint for the

proposition that the shooter was “light skinned” even though Plaintiff “is described as having

dark skin.” See Compl., at ¶ 41. Plaintiff’s recorded prison call, however, establishes that

Plaintiff conspired with Brother to completely fabricate testimony consistent with Plaintiff’s

scheme. In a three-way call between Plaintiff, Yvette, and, Brother, Plaintiff explained to

Brother:

         Dewitt:         I need you out there, need you to come through again for me yo…
                         Basically, I need you, basically to hit them up on shit like, man [the
                         Detectives] was trying to force you to say that you seen me uh, with
                         guns and all the other type of shit, and, and, and you stuck with your
                         guns… Yeah, but this the thing, this the thing yo, from that last trial joint,

         9
         Defendants issued a document request pursuant to Fed. R. Civ. P. 34 on February 18, 2020, for
any correspondence between Plaintiff and his representatives and any witness, relating to the allegations
in the complaint. Plaintiff has not responded to this request and has not produced his letter to Maurice
Booker.
                                                   8
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                       I subpoenaed, from the prosecutor, they gonna, they got the transcript. So
                       you can’t use… the plastic gloves shit. You dig what I’m saying.
                       Because… all your testimony was that you just, all you know is that the
                       motherfucker was light skinned and shit, right. In court, you gonna just
                       straight stick with same, straight stick with the same thing. But the whole
                       thing is, I’m, I’m just trying to pinpoint, man I’m only trying to pinpoint
                       the corruption from the police department and shit, right… as far as
                       the threats and coercion and shit like that that they was trying to
                       force upon you because the same detectives and shit that, that, that, uh, is
                       no longer detectives no more, they the ones that questioned you.
       Brother:        They never questioned me. That’s what I’m saying.
       Dewitt:         Yeah, I know.
       Brother:        They never questioned me on your shit.
       Dewitt:         That’s the, that’s the point that I’m trying to make. I know that.
       Brother:        Oh, I get what you’re saying. I get what you’re saying. Oh, I get
                       what you’re saying. Aye ya, this, this what you gotta do, te-, text me the
                       uh, their names. You get what I’m saying… A’right, that’s for real yo, I
                       got you. You know damn well man, anything I can do to help. I don’t like
                       to be in the, in the forefront with that shit, but see what I mean, I don’t
                       mind. (inaudible)…
       Dewitt:         I’m gonna send Doodles a letter for you, and I’m gonna get him to give to
                       you, and you, and you’ll know everything from there… I’m gonna get
                       [Yvette] to text you the names, you gonna know the names and shit.

Ex. 1, at 6/20/2015, 7:52:47 PM, 3:27–10:02 (emphasis added). Thus, even though Brother told

Plaintiff that he was “never questioned” by police regarding Plaintiff, Plaintiff nevertheless

asked Brother to testify that the police “was trying to force you to say that you seen me uh, with

guns and all the other type of shit.” Id. This is clear evidence that Plaintiff was asking a witness

in this civil case to fabricate testimony of police wrongdoing and is independent evidence of

sanctionable litigation misconduct.

       C.        Plaintiff Paid Tyrell Curtis In Exchange for His Testimony
                 i.    “Dude” and “Bobbi Brown” Are Pseudonyms for Tyrell Curtis
       Plaintiff is on tape many times with Yvette and Doodles discussing payments to Tyrell

Curtis in exchange for his cooperation and testimony in connection with the PC Petition. While

Plaintiff attempted to conceal Curtis’ identity with the pseudonyms “Dude” and “Bobbi Brown,”


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Plaintiff, Yvette, and Doodles got sloppy at times and revealed they were discussing the witness,

Tyrell Curtis. For instance, on May 30, 2013 in a phone call with Plaintiff, Yvette said: “The

Dude signed it, Tyrell.” Ex. 4, at 5/30/2013, 8:12:53 AM, 26:21–26:25 (emphasis added).

Moreover, on July 3, 2014, Yvette and Plaintiff overtly discussed that “Dude” was synonymous

with “Curtis” when they said:

       Yvette:        What’s the last, what’s the last name, what’s the last name?
       Dewitt:        What last name?
       Yvette:        The Dude.
       Dewitt:        (mumbles)
       Yvette:        I’m, I’m on the computer
       Dewitt:        Oh Curtis
       Yvette:        Okay. I got it. Alright hold up. Let me see where this clown at.
       Dewitt:        Uh, 2549365 that’s the ID number… (mumbles)
       Yvette:        What’s his, his birthday October ‘85?
       Dewitt:        Yeah.

CD 3 of Recorded Prison Calls, attached hereto as Ex. 3, at 7/3/2014, 5:01:52 PM, 22:12–22:56

(emphasis added). In fact, Curtis’ date of birth is October 14, 1985, and his Inmate SID # is

2549365. See Maryland DOC Locater, attached hereto as Ex. 15.

       In addition to “Dude,” Plaintiff and his co-conspirators used the code name “Bobbi

Brown” when referring to Curtis. In a recorded call with Doodles, Plaintiff referenced “Bobbi

Brown” as someone who was a witness in Plaintiff’s case. See Ex. 2, at 3/3/2015, 12:36:33 PM,

11:06–12:03 (“Yeah, make sure, man, look. When you see, when you see Roland [Plaintiff’s

criminal defense counsel], right, when you’re at the courthouse, tell him to come downstairs and

check to make sure Bobbi Brown down there, to make sure we there, in the, in the right fucking

courtroom, yo.”).

       The fact that “Bobbi Brown” is a veiled reference to Curtis is further substantiated by the

fact that Plaintiff’s recorded references to “Bobbi Brown” and Bobbi Brown’s court dates line up

perfectly with three separate court dates of Tyrell Curtis. In a November 2, 2014 call to Yvette,

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Dewitt stated: “Oh yeah, you know what’s his name go to court tomorrow too. That’s what I

wanted to remind you. Bobbi Brown… Bobbi Brown… Yeah, check on it. Yeah, check on it.

Tell Doodles to check on that too, yeah.” Ex. 3, at 11/2/2014, 12:57:18 PM, 1:59–2:10. Indeed,

the Circuit Court for Baltimore City’s Case Information Sheet reveals that Tyrell Curtis appeared

in court on November 3, 2014. See Case Information Sheet, attached hereto as Ex. 16, at ¶ 2. On

January 21, 2015, Plaintiff and Yvette discussed that Bobbi Brown would have court on

“February the 5th.” See Ex. 2, at 1/21/2015, 8:43:45 AM, 4:57–5:30 (emphasis added). Again,

per the Case Information Sheet, Curtis appeared in court on February 5, 2015. See Ex. 16, at ¶

2. In a call with Plaintiff on February 5, 2015, Yvette informed Plaintiff that Bobbi Brown’s next

court date would be April 6, 2015. See Ex. 2, at 2/5/2015, 6:51:32 PM, 2:24–5:01. Plaintiff told

Yvette “to ask Doodles to find out if, if Bobbi Brown gonna get a bail, and if not, I just wanna

know if he gonna get a bail and if not tell Doodles Imma send him something in the mail ‘cuz I

need him to send [Bobbi Brown] something for me.” Id. Yet again, the Case Information Sheet

confirms Curtis appeared in court on April 6, 2015. See Ex. 16, at ¶ 2. These examples confirm

that “Dude” and “Bobbi Brown” were pseudonyms Plaintiff used to refer to Tyrell Curtis.

               ii.    Plaintiff Paid Tyrell Curtis for His Testimony

       Similar to Plaintiff’s dealings with the Bookers, Plaintiff paid Curtis for his testimony in

connection with the PC Petition. On March 14, 2013, Yvette told Plaintiff, “Doodles said he told

the Dude he’s gonna give him a buck fifty… and then give him the rest when you go to court.”

Ex. 4, at 3/14/2013, 7:27:43 PM, 1:49–2:05. The next day, March 15, 2013, Yvette, Doodles, and

Plaintiff discussed payment to Curtis on a three-way call. Doodles said: “I’m not gonna give it to

him no whole fucking five hundred… I was gonna give him a hundred maybe two. You feel

me?” Id. at 3/5/2013, 12:31:17 PM, 8:24–9:30. Later that same day, Yvette told Plaintiff “[T]he


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Dude asked for 50. Aye, the Dude asked Doodles for 50. I told Doodles, I said give him the 50

and come get it from me.” Id. at 3/15/2013, 8:30:33 PM, 5:30–5:39. On July 30, 2013, Doodles

explicitly said: “I got Tyrell a deposit.” Id. at 7/30/2013, 8:34:34 PM, 8:09–8:19 (emphasis

added).

          At Plaintiff’s insistence, Doodles visited Curtis on July 19, 2014, to check-in and confirm

that Curtis was okay and prepared to testify. Later in the day, Plaintiff quizzed Yvette as she

reported to Plaintiff on Doodles’ visit with Curtis.

          Dewitt:          Did [Curtis] say he got my letter? Did he say he get my letter?
          Yvette:          Yeah, he had it in his pocket yup he had it in his pocket yup. He pulled it
                           out and showed Doodles the letter yup. He had it in his pocket…
          Dewitt:          Did Doodles say he’ll hit him up?
          Yvette:          Yeah but not all of it. He gave him some, but you know to keep him so
                           and told him when, when he need something else call him and he got him
                           and I told him next week you know I’ll give him Doodles to give it to him
                           too. I mean well I don’t know if he gonna give him the whole 50 or
                           whatever but I mean just enough to keep him you know.

Ex. 3, at 7/19/2014, 4:59:15 PM, 2:26–6:30.

                    iii.   Plaintiff Influenced the Content of Tyrell Curtis’ Testimony

          In addition to Plaintiff coordinating payment of up to five hundred dollars to Curtis, the

prison calls are rife with examples of Plaintiff coordinating the substance of Curtis’ testimony.

Plaintiff utilized at least two primary methods to coordinate with Curtis. One method was to

communicate through Doodles. For example, on March 14, 2013, Plaintiff told Yvette to “tell

[Doodles] to make sure that Dude know everything that this shit gonna be. Once he put it on

record it’s on record. Ain’t no switching up.” Ex. 4, at 3/14/2013, 7:27:43 PM, 7:58–8:10.

Another example of Plaintiff’s coordination with Curtis is from a call on June 26, 2013, when

Plaintiff told Doodles, “you gotta definitely make sure that uh. You know what I mean like all

the stuff that I wrote you because you know they gonna ask him questions and shit like that


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right?... make sure everything tight. A’right.” Id. at 6/26/2013, 6:05:34 PM, 3:18–3:36. Doodles

responded: “Yeah. I already, I prepped him, I prepped him. But I’m gonna, I’m gonna do it

again, you know what I mean when it get closer, you feel me?” Id. A third example of Plaintiff’s

coordination with Curtis is from a call on November 24, 2013, when Doodles reassured Plaintiff

that he had “been keeping that, keeping tight contact on Tyrell.” Id. at 11/24/2013, 7:14:36 PM,

20:02–20:12.10



        10
            As noted, there are many of examples of Plaintiff coordinating Curtis’ testimony through
Doodles. A selected sampling is included below.
         In a February 25, 2014 exchange between Dewitt and Doodles, Tyrell is referenced by name,
albeit accidently:
         Dewitt:         I sent him a, I sent a letter there, I sent a letter to, to his grandmother house for
                         him and shit right. And I sent you a letter um, uh, Sunday… Yeah, he should get
                         that by tomorrow and shit. I sent him a letter out Sunday and shit put, giving uh,
                         giving him uh, E [Yvette] number and I gave him uh, the lawyer number and shit
                         right. But I… was basically telling him there to contact you so y’all can hook up
                         so y’all can go down there ‘cuz yo need to rap to yo again because he supposed
                         to come and see me in two weeks… But he definitely… definitely need to talk to
                         yo and make sure everything good and shit right. Right… Damn well when you
                         leave, leave from up there go, go down the way and check down there and, I
                         need… You know this important Dawg.
         Doodles:        Yeah, listen, listen. I’m doing it now. That’s what I was saying I, I told you I’m
                         in the area I’m gonna stop pass the lawyer’s office right… And uh see, then I’m
                         gonna go up to Tyrell and tell him that I need him, like uh
         Dewitt:         Right. You know you ain’t supposed to do that man.
         Doodles:        Yeah, yeah, yeah… I ain’t thinking man.
Ex. 4, at 2/25/2014, 3:48:08 PM, 5:24–7:27 (emphasis added).
         On July 16, 2014 in a call between Dewitt and Doodles, Doodles slipped and explicitly told
Plaintiff “we supposed to go see Tyrell, uh, Shorty, um, shit. We supposed to go see Shorty.” Ex. 3, at
7/16/2014, 12:12:28 PM, 2:44–4:03 (emphasis added). Plaintiff repeatedly expressed his concern: “Did
you read, did you read the envelope that I sent you?” Id. Doodles responded, “Yeah, I read all of it.” Id.
         On March 31, 2015, Plaintiff told Doodles: “I gotta keep track of Bobbi Brown, and make sure,
see if, is he coming home or, is he getting postponed, or he getting some time, or whatever and shit,
right.” Ex. 2, at 3/31/2015, 12:32:52 PM, 13:26–16:14 (emphasis added). Plaintiff then referenced
“Londa.” Id. Yolanda Curtis (“Londa”) is Tyrell Curtis’ sister and Plaintiff’s prison records confirm that
Ms. Curtis visited Dewitt in prison on at least two occasions. See Dewitt Visiting Records, attached hereto
as Ex. 17, at ¶¶ 1-2.
         On April 4, 2015, Plaintiff told Doodles to deliver a message to Curtis at Curtis’ court appearance
on April 6, 2015. “When you see him, let him, let him know man that you mailed him something too man,
and find out, check and make sure that little nigger a’right, man.” Ex. 2, at 4/4/2015, 7:59:57 AM, 18:43–
19:52. Doodles reassured Plaintiff: “Yeah, yeah, yeah. He’s gonna know what’s up when he sees me, he’s
gonna know what’s up when he sees me.” Id.

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        The other primary method Plaintiff utilized to coordinate with Curtis was sending letters

to Curtis directly. Plaintiff often mailed these letters to Yvette, who then placed them in the mail

for Curtis. For example, on December 13, 2014, Plaintiff told Yvette: “I was writin' a letter to uh,

Bobbi Brown. ‘Cuz I’m gonna mail that off the weekend so you can mail him this letter… So uh,

when it’s close, whatever, you and Doodles can go, or Doodles, you know what I mean, y’all can

meet up and go.” Ex. 2, at 12/13/2014, 7:09:35 PM, 8:24–8:40. Two days later, on December 15,

2014, Plaintiff told Yvette that “I sent it out Sunday night. I sent you one, too. I put a, a letter in

there, I already put the stamp on it, but you gotta do is drop it in the box for uh, for Bobbi

Brown.” Id. at 12/15/2014, 8:33:56 PM, 5:49–6:08. On December 18, 2014, the letter is

mentioned again on another call. Plaintiff asked Yvette, “Oh yeah, you said, you said, uh, uh,

you sent Bobbi Brown the letter?” Id. at 12/18/2014, 7:56:26 AM, 3:36–3:44. Yvette reassured

saying, “I put it in the mailbox yesterday.” Id.11 These many examples demonstrate Plaintiff’s

extensive coordination with Curtis.

                iv.     Plaintiff Hid His Contact with Tyrell Curtis From the Court
        Had these prison calls been uncovered prior to the criminal court’s decision to vacate

Plaintiff’s conviction, there is little doubt that Plaintiff would still be serving his life sentence for

the senseless murder of an innocent sixteen-year-old girl. Plaintiff knew this level of

coordination and scheming was beyond the tolerance of any judge. In fact, Plaintiff did not want

        11
            The calls contain many references to Plaintiff’s correspondence directing his scheme. Another
example of a letter Plaintiff sent to Curtis is included below.
         On February 6, 2015, Plaintiff discussed a letter he sent to Curtis with Yvette: “I mailed you out
something too that I need you to mail out for uh, to Bobbi Brown for me… I mailed it off uh, I mailed it
off yesterday.” Ex. 2, at 2/6/2015, 7:18:07 PM, 22:17–22:27.
         On February13, 2015, Plaintiff discusses the importance of the letters to Bobbi Brown: “I wanted
him to read over, so he can know. You know what I’m saying… Yeah, so he, you know what I mean,
won't be getting there lookin' stupid, sounding crazy.” Id. Worried that prison security may open his
letter, Plaintiff said, “I don’t put my name on shit… Attorney at Law… Yeah. Because look. I don't trust
these motherfuckers, baby. I don't trust them. And when you be paranoid, that’s when you, that’s when
you, everything right. I don't trust them. Far as I can see, and when you put that on there, they can't open
your shit up, because that’s a violation. Attorney-Client privileges, right.” Id.
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anyone to know he, or any of his surrogates, had any contact with Curtis. At the post-conviction

hearing on July 15, 2014, in response to a question by Plaintiff’s criminal defense counsel, Curtis

testified he did “not really know [Plaintiff], but I heard of him…[l]ike, not really heard of him.

Like, I seen him before but I don't know him, though.” Ex. 13, at ¶ 6. On cross examination,

Curtis doubled down claiming that he had not had any contact with Plaintiff or Plaintiff’s

defense counsel since the shooting in 2002. See id. at ¶ 36. The prison calls expose Curtis’

testimony was a bald-faced lie, and Plaintiff sat by and benefited from this perjured testimony in

connection with the PC Petition.

               THE QUESTIONED DOCUMENT IS EXPOSED AS FRAUDULENT

       Plaintiff’s prison phone calls alone warrant immediate dismissal of this case. However,

there is also clear evidence that Plaintiff forged and fabricated the Questioned Document in order

to concoct a false Brady claim and corroborate the false testimony he purchased from Curtis. It

was this Questioned Document that the criminal court ultimately relied upon to vacate Plaintiff’s

criminal conviction. Copied below is an image of the Questioned Document:




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Ex. 12. The Questioned Document was attached to Plaintiff’s PC Petition, where he alleged

“there was another eyewitness to the crime by the name of Tyrell Curtis, who gave a statement

that he witnessed George Gaines, committ [sic] the crime.” Ex. 9, at ¶ 38. Plaintiff needed to

ensure Curtis went along with this bogus story that a “George Gaines” and not Plaintiff

committed the murder and, as such, was very concerned that Curtis review the report before he

testified. This Questioned Document was sent for forensic examination by two forensic

document examiners, each of whom have concluded that it was fabricated.

       A.      The Opinions of Forensic Document Examiners Katherine Koppenhaver and
               Diana Mears

       Katherine Koppenhaver, is a Certified Questioned Document Examiner with more than

30 years of experience, and a published author. See CV of Katherine Koppenhaver, attached

hereto as Ex. 18. Ms. Koppenhaver has given expert testimony in court and deposition in over

500 cases. Id. She has handled over 3,500 cases, involving thousands of documents since 1983.

Id. In addition, Ms. Koppenhaver has authored “Attorney's Guide to Document Examination,”

published by Greenwood Publishers, and “Forensic Document Examination, Principles and

Practice,” published by Springer. Id. Ms. Koppenhaver is also the Founder and President of the

International Association of Document Examiners (IADE), as well as the Founder of the

Scientific Association of Forensic Examiners (SAFE). Id. Diana Mears is a Certified Questioned

Document Examiner and has testified in both state and federal courts. See CV of Diana Mears,

attached hereto as Ex. 19. She spent four years training with Katherine Koppenhaver before

joining her team full time. Id. In addition, Ms. Mears serves on the board of IADE. Id.

       In this case, Document Examiners Koppenhaver and Mears evaluated the Questioned

Document and found it was not genuine. See generally Letter of Opinion with Exhibit, attached

hereto as Ex. 20. The experts explained that their conclusion was based on a myriad of scientific

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reasons. First, the Questioned Document was forged using the back page of a known, two-page

(double sided) BPD report, also referred to as a “bubble report.” Each BPD bubble report has its

own unique identifying number—in this case, “793331”—located at the lower right-hand corner

of both pages of the document. Id. at ¶¶ 6-7. Below is a graphic image of the unique identifying

number which appears on the known blank document and the Questioned Document:




This identifying number is similar to a Bates number in that it facilitates document tracking. The

Questioned Document, however, has the same identification number as an existing document in

the BPD file in this case.12 Id. The backside of the BPD file version of this bubble report, with

the same unique identifying number as the Questioned Document, is completely unfilled. See K-

4A, at ¶ 2, attached hereto as Ex. 21; K-5A, at ¶ 2, attached hereto as Ex. 22. Similarly, this same

document is completely unfilled in the SAO file. See K-4B, at ¶ 2, attached hereto as Ex. 23. As

such, the experts determined that the blank, known BPD document was used to fabricate the

Questioned Document. See Ex. 20, at ¶¶ 6-7. The unique identifying number exposes the fact

that the document Plaintiff presented in his post-conviction motion and at his post-conviction

hearing is not genuine. Id.

       Second, the signature of Sergeant Garnell Green that appears on the Questioned

Document was not written by Sergeant Green. See id. at ¶ 7. Although the purported signature of

Green appears similar to a known exemplar contained in the BPD homicide file for the death of

Sherene Moore (“Homicide File”), scientific inspection reveals tremors in the signature, a lack of



       12
           The original bubble report marked with this unique number, is currently maintained by BPD’s
Case Management System (“CMS”) Department, and is also completely blank. See K-4C, attached hereto
as Ex. 24, at ¶ 2.

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pressure patterns, and blunt endings, exposing the signature as a fake. Id. The below side-by-side

graphics showcase the defects in the copied as compared to the original signature.

                Questioned Document                         Known Signature




        Third, the purported “signature” of Detective Mark E. Veney that appears on the

Questioned Document bears no resemblance to other known signatures or handprinted examples

of the word “Veney” in the Homicide File. See id. at ¶¶ 7-8. The following graphics showcase

the obvious differences, such as that the final stroke of the “N” in the Questioned Document is

diagonal and connects to the letter “Y,” and that the letter “E” was added between the “N” and

“Y” only afterward. Id. at ¶ 8.

              Questioned Document      Known Signature          Known Handprinted




        In fact, the experts opined that the model “VENEY” utilized to forge the “signature” was

actually a report created by Detective Gregory S. MacGillivary, who wrote the word “VENEY”

on his own report. Id. The experts opined that the word “VENEY” written on the Questioned

Document was not written by the same person who authored the same word on MacGillivary’s

official report. Id.

                       Questioned Document             MacGillivary Report




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        Finally, the Questioned Document contains hole punches and “trash marks”

(imperfections, scratches or dirt from a copy machine which is visible on a photocopy) that line

up perfectly with the unfilled SAO copy, as opposed to the known document in BPD’s central

records which does not contain hole punches or “trash marks.” Id.




        Based on the aforementioned reasons, the experts concluded that the Questioned

Document is not genuine and was created from a known document in the SAO file which would

have been available to Plaintiff. Id. at ¶ 6.

        B.      All Other Indications Also Point to the Fact that the Questioned Document Is
                Not Authentic

        The fact that the science establishes that the Questioned document is a fraud comes as no

surprise given the factual background. Plaintiff’s own recorded calls establish in overwhelming

fashion that he fully manipulated the evidence presented in support of his PC Petition. Other than

Plaintiff’s obvious desire to overturn his murder conviction, none of the other evidence adds up.

The PC Petition claims that Plaintiff received the Questioned Document on May 17, 2010, See

Ex. 7, at ¶ 2; Ex. 9, at ¶¶ 35, 39, yet he did not even reference the document in his Petition for

Writ of Innocence filed in August of 2010. See generally Ex. 7.


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       As noted above, the Questioned Document has a unique identifying number—akin to a

Bates number—which establishes that it was created from a known document. This known

document was a two-page “bubble report” dated July 5, 2002, where an Officer Steve Hohman

documented his transport of a witness. See Ex. 24. Given the pro forma nature of this event, the

second page of the bubble report was left blank (as in unfilled). This blank police report served

as the foundation for Plaintiff’s forgery.

       While itself not outcome determinative, it is also notable that Curtis gave a taped and

transcribed interview with BPD on April 4, 2003, where he stated that he could not identify the

shooter, that he was black, and that he was “not that tall but kind of thick.” See Interview of

Tyrell Curtis April 4, 2003, attached hereto as Ex. 25, at ¶¶ 2-3. Curtis says nothing in this taped

interview or at any other point about an alternative suspect named Gaines, as is attributed to

Curtis in the Questioned Document purportedly dated December 10, 2002. See id.

       In addition, the Question Document contains basic mistakes which an actual police

officer is unlikely to have made. The text of the Questioned Document, purportedly authored by

Detective Veney, contains a reference to Detective Garnell Green. See Ex. 12 (emphasis added).

However, Garnell Green was a sergeant. See Trial Transcript 11/18/2003, at ¶ 153, attached

hereto as Ex. 26; see also Ex. 24, at ¶ 1. It is highly unlikely that Detective Veney would insult a

superior officer by referring to him with an inferior rank. Additionally, as a homicide detective, it

is highly unlikely that Detective Veney would misspell the word “homicide” as “homocide,” as it

appears on the Questioned Document. See Ex. 12. Finally, the bubble report form indicates that

the subject’s name should be completed in the order of last name and then first name.

Inexplicably, the Questioned Document ignores this instruction and reads “Tyrell Curtis” – first

name and then last name. See id. These pertinent facts provide additional corroboration to the



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opinions of Document Examiners Koppenhaver and Mears, who based their conclusion that the

Questioned Document is not genuine on the basis of scientific reasoning alone.

                                          ARGUMENT

       Federal courts have the inherent power to impose sanctions “for conduct which abuses

the judicial process.” Chambers v. NASCO, Inc., 501 U.S. 32, 44–45 (1991). Such conduct

includes situations when the Court finds that “a party has acted in bad faith, vexatiously,

wantonly, or for oppressive reasons.” Id. at 45–46 (internal quotations and citations omitted).

Appropriate sanctions may include everything from outright dismissal of an action to the

assessment of attorneys’ fees. Id. at 45. The sanction of dismissal is appropriate “when a party

deceives [the] court or abuses the process at a level that is utterly inconsistent with the orderly

administration of justice or undermines the integrity of the process.” Eriline Co. S.A. v. Johnson,

440 F.3d 648, 654 (4th Cir. 2006) (quoting United States v. Shaffer Equip. Co., 11 F.3d 450,

462–63 (4th Cir. 1993)).

       Dismissal of an action as a litigation sanction is within the discretion of the district court

and is afforded deferential treatment. Hartford Ins. Co. v. Am. Automatic Sprinkler Sys., Inc., 201

F.3d 538, 543–44 (4th Cir. 2000). In Hartford, the court identified the following factors to

consider: (1) the degree of the wrongdoer’s culpability; (2) the extent of the client’s

blameworthiness if the conduct was committed by his attorney; (3) the prejudice to the judicial

process and the administration of justice; (4) the prejudice to the victim; (5) the availability of

other sanctions to rectify the wrong by punishing culpable persons, compensating harmed

persons, and deterring similar conduct in the future; and (6) the public interest. Shaffer Equip.

Co., 11 F.3d at 462–63. These factors do not constitute a rigid test and, therefore, the absence of

any one factor is not determinative. See Mindek v. Rigatti, 964 F.2d 1369, 1373 (3d Cir.1992)



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(there is no “magic formula whereby the decision to dismiss or not to dismiss a plaintiff's

complaint becomes a mechanical calculation”); Xyngular Corp. v. Schenkel, 200 F. Supp. 3d

1273, 1325 (D. Utah 2016), aff'd sub nom. Xyngular v. Schenkel, 890 F.3d 868 (10th Cir. 2018).

       Plaintiff’s outrageous litigation misconduct easily satisfies and exceeds the factors

outlined in Hartford. As to the first and second factors, the degree of culpability here is

exceedingly high and directly attributable to Plaintiff personally. Plaintiff meticulously planned

the testimony of Tyrell Curtis, Maurice Booker, and Cornell Booker with these witnesses, and

paid them for their participation in Plaintiff’s fraud. Plaintiff used a forged document to convince

a State court to vacate his murder conviction and to bring the instant lawsuit. Plaintiff has

brazenly promised significant payments to Maurice Booker and Cornell Booker for their

testimony in this very proceeding. Plaintiff’s actions display a horrifying degree of culpability

and he is fully to blame for his misdeeds.

       Regarding the third and fourth factors—prejudice to the judicial process and victim—it is

difficult to conceive of a situation more prejudicial to the administration of justice than the

undoing of a jury’s guilty verdict in a murder case based on falsified evidence orchestrated

directly by the accused and in concert with multiple co-conspirators. Simply put, Plaintiff’s

litigation misconduct prejudiced the criminal justice system by allowing a convicted murderer to

walk free. Adding insult to injury, Plaintiff now seeks to further benefit from his crime in a

cynical effort to extort money from Defendants utilizing a civil justice system infected by

Plaintiff’s litigation misconduct. In one swoop, Plaintiff victimizes (a) the family of Ms. Moore,

who were deprived of the closure afforded by Plaintiff’s conviction; (b) the Defendants, who are

retired public servants now faced with defending themselves from Plaintiff’s fabricated

allegations; and (c) the general public, who will suffer from the chilling effect engendered by this



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false lawsuit on other BPD officers, now keenly aware that they may be sued with paid false

testimony by a convicted murderer with nothing to lose.

       Finally, the fifth and sixth factors identified in Hartford, the availability of other

sanctions and the public interest, suggest that this Court should not only dismiss this lawsuit but

also identify additional sanctions against Plaintiff and his co-conspirators. A convicted murder

facing a life sentence similar to the one Plaintiff faced has very little incentive to play by the

rules when attempting to craft post-conviction arguments. In contrast, the possibility of reward,

i.e., regained liberty combined with the likelihood of financial compensation, is great. The strong

public interest in a fair criminal and civil justice system which is free of blatant bribery and

forged evidence compels the need for the strongest sanction where, as here, Plaintiff was caught

committing gross litigation misconduct. At minimum, the Court should dismiss the complaint to

punish Plaintiff, protect the innocent Defendants, and deter similar conduct in the future.

       The public interest can only be served by zero tolerance for actions that make a mockery

of our laws and courts, and the human life they protect. “Claims of witness tampering are

accusations of the utmost seriousness, because they call into question the very foundation of fair

play and objective fact-finding on which the American trial system is predicated.” Goel v.

Tishcon Corp., No. CIV. L-10-2536, 2011 WL 836680, at *3 (D. Md. Mar. 4, 2011). When a

plaintiff infects his own case with false evidence, dismissal is appropriate. Green v. Mayor and

City Council of Baltimore, 198 F.R.D. 645, 647 (D.Md. 2001) (dismissing case based upon the

submission of false documents). The deafening explosion of public confidence in criminal and

civil proceedings Plaintiff has created is inexcusable.

       As explained in Vargas v. Peltz, 901 F.Supp. 1572 (S.D.Fla.1995), the sanction of

dismissal is especially appropriate “where a party manufactures evidence which purports to



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corroborate its substantive claims.” Courts across the country recognize that litigation

misconduct of the variety established above requires nothing short of dismissal. Aoude v. Mobil

Oil Corp., 892 F.2d 1115, (1st Cir.1989) (Conduct of plaintiff in filing complaint based upon

bogus purchase agreement constituted fraud on the court warranting dismissal of action); Pope v.

Federal Express Corp., 138 F.R.D. 675 (W.D.Mo.1990), aff'd in relevant part, 974 F.2d 982 (8th

Cir.1992) (dismissal warranted where plaintiff in sexual harassment lawsuit manufactured

evidence   by    altering   documents    to   create   a fraudulent document laden     with   sexual

content); Vargas, 901 F.Supp. at 1572 (dismissing sexual harassment suit under court’s inherent

authority where plaintiff relied, in part, upon evidence of panties allegedly gifted by harasser that

had not been manufactured at time in question); Rybner v. Cannon Design, Inc., 1996 WL

470668 (S.D.N.Y.1996) (collecting cases and dismissing case where party relied upon fake

resume and false testimony during deposition); Eppes v. H.E. Snowden, 656 F.Supp. 1267

(E.D.Ky.1986) (awarding monetary sanctions in addition to dismissal of counterclaim where

backdated letters were produced in support of counterclaim); Access Innovators, LLC v. Usha

Martin Ltd., No. 09-2893, 2010 WL 11508119, at *3 (N.D. Ga. Apr. 28, 2010).

                                         CONCLUSION

       Plaintiff deceived the criminal court and the prosecutor and secured his release from

prison utilizing shockingly unacceptable means. He promised Maurice and Cornell Booker that

he would pay them ten-thousand dollars ($10,000) each in exchange for their testimony;

encouraged Larry Mitchell to invent false allegations of police misconduct; and paid Tyrell

Curtis for testimony, the substance of which was carefully dictated by Plaintiff. In addition,

Plaintiff brazenly forged the Questioned Document to support Curtis’ false testimony, then

presented the forgery to the court to procure the reversal of his conviction. This sort of



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outrageous litigation misconduct violates the very “temple of justice” and undermines the ability

of courts to adjudicate disputes in a manner worthy of public confidence. Chambers, 501 U.S. at

45–46.

         Based on the foregoing, the only appropriate sanction to address Plaintiff’s litigation

misconduct is dismissal. In addition, the Court should award Defendants their attorneys’ fees

under 42 U.S.C. §1988 for the time spent defending this frivolous suit. Anything short of this

remedy would be a pronouncement to future litigants “that they have everything to gain, and

nothing to lose, by manufacturing evidence.” Wolfe v. GC Servs. Ltd. P'ship-Delaware, No. 08-

10628, 2009 WL 230637, at *5–9 (E.D. Mich. Jan. 30, 2009).

                                                    Respectfully submitted,



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                                       EXHIBIT INDEX
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Exhibit 2    CD 2 of Recorded Prison Calls
Exhibit 3    CD 3 of Recorded Prison Calls
Exhibit 4    CD 4 of Recorded Prison Calls
Exhibit 5    Court of Special Appeals of Maryland Opinion
Exhibit 6    Court of Appeals of Maryland Order
Exhibit 7    Petition for Writ of Actual Innocence
Exhibit 8    Order Denying Petition for Writ of Actual Innocence
Exhibit 9    Petition for Post-Conviction Relief
Exhibit 10   Memorandum Opinion Granting Post-Conviction Relief
Exhibit 11   Order Denying Motion to Correct Illegal Sentence
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Exhibit 15   Maryland DOC Locater
Exhibit 16   Case Information Sheet
Exhibit 17   Dewitt Visiting Records
Exhibit 18   CV of Katherine Koppenhaver
Exhibit 19   CV of Diana Mears
Exhibit 20   Letter of Opinion with Exhibit

Exhibit 21   K-4A, at ¶ 2

Exhibit 22   K-5A, at ¶ 2

Exhibit 23   K-4B, at ¶ 2
Exhibit 24   K-4C
Exhibit 25   Interview of Tyrell Curtis April 4, 2003

Exhibit 26   Trial Transcript 11/18/2003, at ¶ 153

Appendix A   Recorded Prison Calls Index
Appendix B   Timeline



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                                CERTIFICATE OF SERVICE

       I, the undersigned attorney, hereby certify that I have caused true and correct copies of

the above and foregoing to be served on all counsel of record via to the Court’s CM/ECF system,

in accordance with the rules of electronic filing of documents, on this 22nd day of July, 2020.

                                                     /s/ Avi T. Kamionski




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